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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  ANISSA ALONZO and
  JAMES ALONZO

         Plaintiffs,                                    CASE NO.

  v.

  BIOMET, INC., BIOMET ORTHOPEDICS, LLC
  BIOMET MANUFACTURING, LLC,
  BIOMET US RECONSTRUCTION, LLC, and
  ZIMMER BIOMET HOLDINGS, INC.

         Defendants.
                                                        /

                                           COMPLAINT

         1.      Plaintiffs Anissa Alonzo and James Alonzo, by their attorneys, Schlesinger Law

  Offices, P.A., complain against Defendants Biomet, Inc., Biomet Orthopedics, LLC, Biomet

  Manufacturing LLC., Biomet US Reconstruction, LLC, and Zimmer Biomet Holdings, Inc.

  (collectively “Biomet” or “Defendants”) as follows:

                                     NATURE OF THE CASE

         2.      Ms. Alonzo brings this product liability action against Defendants to redress the

  injuries sustained due to Defendants’ defective hip system – the M2a Magnum. As a result of Ms.

  Alonso’s injuries, Mr. Alonzo has sustained a loss of consortium. Plaintiffs seek compensatory

  and punitive damages.

                                             PARTIES

         3.      Plaintiffs, Anissa and James Alonzo, are citizens of the state of Florida and reside

  in Broward County Florida. They are married.

         4.      Upon information and belief, Defendant Biomet, Inc. is an Indiana corporation,

  with its principal place of business in Warsaw, Indiana. Defendant Biomet, Inc. designed,

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  manufactured, marketed, promoted, and sold the M2a Magnum Hip System that is the subject of

  this lawsuit.

          5.      Upon information and belief, Defendant Biomet Orthopedics, LLC is an Indiana

  limited liability corporation, with its principal place of business in Warsaw, Indiana. None of this

  defendant’s members are citizens of the State of Florida. Defendant Biomet Orthopedics, LLC

  designed, manufactured, marketed, promoted, and sold the M2a Magnum Hip System that is the

  subject of this lawsuit.

          6.      Upon information and belief, Defendant Biomet Manufacturing LLC is an Indiana

  limited liability corporation with its principal place of business in Warsaw, Indiana. None of this

  defendant’s members are citizens of the State of Florida. Defendant Biomet Manufacturing LLC

  designed, manufactured, marketed, promoted, and sold the M2a Magnum Hip System that is the

  subject of this lawsuit.

          7.      Upon information and belief, Defendant Biomet US Reconstruction, LLC is an

  Indiana limited liability corporation, with its principal place of business in Warsaw, Indiana. None

  of this defendant’s members are citizens of the State of Florida. Biomet US Reconstruction, LLC

  designed, manufactured, marketed, promoted, and sold the M2a Magnum Hip System that is the

  subject of this lawsuit.

          8.      Upon information and belief, Defendant Zimmer Biomet Holdings, Inc.is an

  Indiana corporation with its principal place of business in Warsaw, Indiana. Zimmer Biomet

  Holdings, Inc. purchased Biomet, Inc. and its subsidiaries in June of 2015. Zimmer Biomet

  Holdings, Inc. acquired all liabilities of Biomet, Inc. and its subsidiaries.

          9.      Upon information and belief, at all relevant times, Defendants did, and continue to

  do, business throughout the United States, including within the State of Florida. Defendants, either

  directly or through their agents, designed, manufactured, labeled, distributed, and sold the product
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  at issue in this matter and instructed physicians regarding the advantages of and the proper method

  of implanting this product. Hereafter, these defendants are referred to collectively as Biomet or

  Defendants.

                                    JURISDICTION AND VENUE

         10.     The Court has subject matter jurisdiction under 28 U.S.C. § 1332 because this

  lawsuit is between citizens of different states and the amount in controversy exceeds $75,000.00,

  exclusive of costs and interest. Plaintiffs are Florida citizens; Defendants are all incorporated

  and/or have their principal place of business in Indiana. And as for the Defendants that are limited

  liability corporations, none of the members of those LLCs are citizens of the State of Florida.

         11.     The Court has personal jurisdiction over each party. The Plaintiffs reside in

  Broward County, Florida. All Defendants marketed, promoted, distributed or sold the sold the

  M2a Magnum Hip System throughout the United States, including the State of Florida.

  Defendants have sufficient minimum contacts with this State or sufficiently avail themselves of

  the markets in this State through their promotion, sales, distribution and marketing within this State

  to render the exercise of jurisdiction by this Court permissible.

         12.     Venue is proper in the Southern District of Florida because Defendants committed

  tortuous act(s) within the State of Florida out of which act(s) these causes of action arise. Plaintiffs

  experienced injury and continue to suffer injuries in Broward County, Florida. For example, the

  removal surgery of Ms. Alonzo’s M2a Magnum Hip System occurred in Broward, County Florida.

                                     FACTUAL ALLEGATIONS

         A.      The M2a Magnum Hip System Is Defective And Was Not Adequately Tested

         13.     The hip joint is where the femur connects to the pelvis. The joint is made up of the

  femoral head (a ball-like structure at the very top of the femur) rotating within the acetabulum (a

  cup-like structure at the bottom of the pelvis). In a healthy hip, both the femur and the acetabulum
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  are strong, and the rotation of the bones against each other is cushioned and lubricated by cartilage

  and fluids.

         14.     A total hip replacement replaces the body’s natural joint with an artificial one,

  usually made out of metal and plastic. A typical hip replacement system consists of four separate

  components: (1) a femoral stem; (2) a femoral head; (3) a plastic (polyethylene) linear; and (4) an

  acetabular shell. After the surgeon hollows out a patient’s femur bone, the femoral stem is

  implanted. The femoral head is a metal ball that is fixed on top of the femoral stem. The femoral

  head forms the hip joint when it is placed inside the polyethylene linear and acetabular shell.

         15.     While most hip replacements use a polyethylene plastic acetabular liner, Biomet’s

  M2a Magnum Hip System has a critical difference: it is a monoblock system which does not have

  an acetabular liner. Instead, the M2a Magnum Hip System forces metal to rub against metal with

  the full weight and pressure of the human body. Because of Biomet’s defective design for the M2a

  Magnum Hip System, hundreds of patients – including Plaintiff – have been forced to undergo

  surgeries to replace the failed hip implants.

         16.     The M2a Magnum Hip System suffers from a design or manufacturing defect that

  causes excessive amounts of cobalt and chromium to wear and corrode from the surface of the

  acetabular cup, from the femoral head, and from the taper adapter. These cobalt and chromium

  fragments prompt the body to react by rejecting the hip implant. This rejection often manifests

  with symptoms of pain, looseness, dislocation, and squeaking and popping sounds. Inside the hip

  joint, the metal reaction often causes fluids to accumulate and soft tissues and bone to die.

  Additionally, reports were received that M2a Magnum Hip System generated metal debris from

  wear, which can spread throughout the bone and tissue and cause severe inflammation and damage.

         17.     Biomet failed to sufficiently test the design of the M2a Magnum Hip System, and

  the M2a Magnum Hip System was never approved by the FDA as being safe or effective for the
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  products’ intended purpose. Further, the M2a Magnum Hip System was not subject to the rigorous

  pre-market approval (PMA) testing and approval pursuant to 21 U.S.C. § 360(e). Instead,

  Defendants received FDA clearance to market the M2a Magnum Hip System in the United States

  through the 510(k) pre-market notification process pursuant to 21 U.S.C. § 360(k), asserting that

  it was substantially equivalent to other metal-on-metal hip replacement systems already on the

  market. This approval process is generally reserved for Class II devices. Accordingly, the M2a

  Magnum Hip System is not subject to federal preemption.

         18.     At the time the M2a Magnum Hip System was designed, tested, manufactured,

  marketed and introduced into the stream of commerce, safer more effective alternative designs of

  hip replacements existed and were available to patients.

         19.     On numerous occasions, Biomet met with orthopedic surgeons throughout the

  United States, and other cities, including, upon information and belief, with Plaintiff’s orthopedic

  surgeon, to promote the M2a Magnum Hip System. At some or all of these meetings, a

  representative or representatives of Biomet were present. During these meetings, Biomet assured

  the orthopedic surgeons that the M2a Magnum Hip System was safe, was the best product on the

  market, had an excellent track record, and a low acceptable failure rate. Biomet continued to

  “defend” the M2a Magnum Hip System even after they became aware of numerous and serious

  complications with the M2a Magnum Hip System. Biomet did not reveal (and instead concealed)

  their knowledge of numerous complications and other “bad data” during their meetings with

  orthopedic surgeons.

         B.      Biomet Sold The M2a Magnum Hip Implant To Plaintiff After Biomet Knew
                 It Was Defective, That It Had Injured Others, And That It Would Injure
                 Plaintiff

         20.     Shortly after launching the M2a Magnum Hip System, reports of failures began

  flooding into Biomet. For example, in or about August 2004, Biomet received a complaint that a
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  patient required and underwent surgery to remove and replace the M2a Magnum Hip System

  because it had become loose after only 3 years. Biomet closed its investigation of this complaint.

         21.     Biomet received hundreds of similar complaints reporting that M2a Magnum Hip

  System failed, that that failure forced patients to undergo painful and risky surgeries to remove

  and replace the failed hip component. To date, more than 350 reports of adverse events associate

  with the M2a Magnum Hip System have been filed with the FDA.

         22.     By the time Biomet sold the M2a Magnum Hip System to Plaintiff, numerous

  reports had been filed with the FDA reporting an adverse event associate with the M2a Magnum

  Hip System. Thus, Biomet was fully aware that the M2a Magnum Hip System was defective and

  that patients had been injured by that defect. Based on this information, Biomet should have

  recalled the M2a Magnum Hip System before it was sold to Plaintiff. Indeed, Biomet should have

  stopped selling the defective implant when Biomet became aware that the M2a Magnum Hip

  System had failed in several patients.

         23.     Despite knowing that the M2a Magnum Hip System had a defect, and that it failed

  hundreds of times, causing hundreds of patients to undergo complicated, expensive, and painful

  revision surgeries with a prolonged recovery time, Biomet continued to sell the defective M2a

  Magnum Hip System. Biomet actively concealed the known defects from doctors and patients –

  including Plaintiff and Plaintiff’s doctor.

         24.     Ignoring the numerous reported M2a Magnum Hip System failures, Biomet

  continued to promote, market, and defend the defective M2a Magnum Hip System. For example,

  Biomet published marketing brochures touting the safety and durability of metal-on-metal

  implants and specifically, the M2a Magnum Hip System. Biomet gave these brochures to doctors

  around the world to encourage them to use the M2a Magnum Hip System.



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         25.     Despite its knowledge that the M2a Magnum Hip System was defective, Biomet

  also made several false representations about specific design elements of the M2a Magnum Hip

  System that it claimed made the M2a Magnum Hip System superior to other more safe hip implants

  on the market. Biomet claimed:

         (a)     “The M2a-MagnumTM Large Metal Articulation System offers optimal
                 joint mechanic restoration and ultra low-wear rates in vivo,” and

         (b)     “Many studies conducted over the last several decades have shown no
                 definitive correlation of negative health issues to ion levels exhibited from
                 metal-on-metal implants;”

         (c)     “[S]et the standard for performance and design in hip systems;”

         (d)     “[A]n ultra-high performance metal-on-metal articulation;”

         (e)     “[D]esigned specifically to address the issue of wear debris;”

         (f)     “[T]he right choice for use in young, highly active patients.”

                 Additionally, Biomet promoted the M2a Magnum Hip System as “offering

  improved range of motion and joint stability” and employed gymnast, Mary Lou Retton to

  deliver the message in April 2006 for direct-to-consumer print, TV and radio advertising.

         26.     Biomet’s reason for concealing the defect in the M2a Magnum Hip System is clear.

  Hip implant sales are critically important to Biomet, and the M2a Magnum Hip System is one of

  Biomet’s most profitable products. During the time period relevant to this Complaint, Biomet’s

  management was trying to make Biomet appealing to investors, and in 2007, Biomet was

  purchased by a private equity firm for $10 billion.

         27.     Biomet chose corporate profits over patient safety. Rather than admit its M2a

  Magnum Hip System is defective, Biomet continued to promote, market, and sell the M2a

  Magnum Hip System. At present, Biomet continues to sell the defective M2a Magnum Hip System

  to unsuspecting patients without any warning about the risks or the failures reported to Biomet.

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         C.      Plaintiff’s Magnum Hip System Was Defective And Failed, Forcing Plaintiff
                 To Undergo An Additional Painful and Risky Surgery

         28.     In January of 2005, Plaintiff underwent a surgical procedure to implant the M2a

 Magnum Hip System in one of her hips. Dr. Richard Katz performed the surgery in Albany, New

 York.

         29.     By this time, numerous reports of adverse events associated with M2a Magnum

 Hip System had been filed with the FDA, and Biomet knew the M2a Magnum Hip System was

 defective. Nevertheless, Biomet refused to disclose that information to Plaintiff, her physicians, or

 the public. Instead, Biomet misrepresented to Plaintiff and her orthopedic surgeon that the M2a

 Magnum Hip System was safe and effective. Relying on Biomet’s representations, Plaintiff’s

 orthopedic surgeon decided to use the M2a Magnum Hip System.                     But for Biomet’s

 misrepresentations, Dr. Katz would not have used the M2a Magnum Hip System for Plaintiff’s hip

 replacement surgery.

         30.     As a result of the defective design, manufacture and composition of the M2a

 Magnum Hip System, and its accompanying warnings and instructions (or lack thereof), Plaintiff’s

 hip implant failed, causing her pain and suffering.

         31.     Plaintiff also suffered from metal ion disease and other effects as a result of the

 metal toxicity in her body. Plaintiff had marked elevation of her chromium and cobalt levels.

 Plaintiff’s chromium levels were at 80.6 micrograms per liter – the normal level is less than 1.4

 micrograms per liter. Plaintiff’s cobalt levels were at 60.6 micrograms per liter – the normal level

 is less than 1.8 micrograms per liter.

         32.     Plaintiff underwent revision surgery on or about April 16, 2021 to remove the failed

 M2a Magnum Hip System from Plaintiff’s body. Revision surgeries are generally more complex

 than the original hip replacement surgery, often because there is a reduced amount of bone in which
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 to place the new hip implants. Revision surgeries also usually take longer than the hip replacement

 surgery and the revision surgery has a higher rate of complications.

            33.     Plaintiff’s revision surgery was performed by Dr. Steven Naide in Broward County,

 Florida.

            34.     Having to go through a revision surgery, has subjected Plaintiff to greater risks of

 future complications than she had before the revision surgery. Studies found that a revision surgery

 causes a much higher risk of dislocation compared with an original hip replacement surgery. A

 study by Charlotte Philips and her colleagues at Brigham and Women’s Hospital in Boston showed

 that 14.4 percent of patients who had revision surgery suffered from a dislocation compared with

 3.9 percent of patients who had an original hip replacement surgery.             In other words, hip

 replacement patients who had a revision surgery are almost four times more likely to suffer from a

 hip dislocation than those who have not. (Phillips CB, et al. Incidence rates of dislocation,

 pulmonary embolism, and deep infection during the first six months after elective total hip

 replacement. American Journal of Bone and Joint Surgery 2003; 85:20-26).

            35.     As a direct and proximate result of the failure of her M2a Magnum Hip System and

 Biomet’s wrongful conduct, Plaintiff sustained and continues to suffer economic damages

 (including medical and hospital expenses), severe and possibly permanent injuries, pain, suffering

 and emotional distress. As a result, Plaintiff has sustained and will continue to sustain damages in

 an amount to be proven at trial, but which will far exceed the $75,000.00 jurisdictional minimum

 of this Court.

                               FIRST CAUSE OF ACTION
                  STRICT PRODUCTS LIABILITY – MANUFACTURING DEFECT
                              AGAINST ALL DEFENDANTS

            36.     Plaintiffs incorporate paragraphs 1-35 of this Complaint as if fully set forth here

  and further allege as follows:
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             37.   Defendants are the manufacturers, designers, distributors, sellers, and/or suppliers

   of the M2a Magnum Hip System that was surgically implanted in Plaintiff.

             38.   The M2a Magnum Hip System manufactured, designed, sold, distributed, supplied

   and/or placed in the stream of commerce by Defendants was defective in its manufacture and

   construction when it left Defendants’ hands because it deviated from product specifications and/or

   applicable federal requirements for these medical devices, posing a serious risk of injury and death.

             39.   As a direct and proximate result of Plaintiff’s use of Defendants’ M2a Magnum

   Hip System as manufactured, designed, sold, supplied and introduced into the stream of commerce

   by Defendants, Plaintiff, Ms. Alonzo, has suffered damages for pain and suffering, disability,

   physical impairment, disfigurement, mental anguish, inconvenience, aggravation of a disease or

   physical defect and loss of capacity for the enjoyment of life in the past and to be sustained in the

   future; as well as damages for lost earnings in the past, loss of earning capacity in the future,

   medical expenses incurred in the past and medical expenses to be incurred in the future. The

   injuries and losses of Plaintiff are permanent in nature and Plaintiffs will continue to suffer such

   losses.

             40.   Defendants’ conduct as described above, was extreme and outrageous. Defendants

   risked the lives of recipients of their products, including Plaintiff’s, with knowledge of the safety

   and efficacy problems and suppressed this knowledge from the general public. Defendants knew

   or should have known of the serious health risks it created. Defendants made conscious decisions

   not to redesign, re-label, warn or inform the unsuspecting recipients of Defendants’ M2a Magnum

   Hip System. Defendants’ outrageous conduct warrants an award of punitive damages.

             41.   Plaintiffs seek actual and punitive damages from Defendants as alleged herein.




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          42.     WHEREFORE, Plaintiffs demands judgment against Defendants for compensatory

   and punitive damages, together with interest, costs of suit, attorneys’ fees, and all such other relief

   as the Court deems just and proper.

                               SECOND CAUSE OF ACTION
                      STRICT PRODUCTS LIABILITY – DESIGN DEFECT
                               AGAINST ALL DEFENDANTS

          43.     Plaintiffs incorporate paragraphs 1-35 of this Complaint as if fully set forth here

   and further allege as follows:

          44.     Defendants are the manufacturers, designers, distributors, sellers, and/or suppliers

   of the M2a Magnum Hip System that was surgically implanted in Plaintiff.

          45.     The M2a Magnum Hip System was in an unsafe, defective and inherently

   dangerous condition for users such as Plaintiff.

          46.     The M2a Magnum Hip System was in an unsafe, defective and inherently

   dangerous condition at the time it left Defendants’ possession.

          47.     At all times relevant, the M2a Magnum Hip System was expected to and did reach

   the usual consumers, handlers, and persons coming into contact with the M2a Magnum Hip System

   without substantial change in the condition in which it was designed, produced, manufactured,

   sold, distributed and marketed by Defendants.

          48.     The M2a Magnum Hip System’s unsafe, defective, and inherently dangerous

   condition injured Plaintiff.

          49.     The M2a Magnum Hip System failed to perform as safely as an ordinary consumer

   would expect when used in an intended or reasonably foreseeable manner.

          50.     Plaintiff’s injuries resulted from use of the M2a Magnum Hip System that was both

   intended and reasonably foreseeable by Defendants.



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           51.     At all times relevant, the M2a Magnum Hip System posed a foreseeable risk of

   danger inherent in the design, which greatly outweighed the benefits of that design.

           52.     At all time relevant, the M2a Magnum Hip System was defective and unsafe, and

   Defendants knew or had reason to know that said product was defective and unsafe, especially

   when used in the form and manner as provided by Defendants.

           53.     At all times relevant, Defendants knew, or should have known, that the M2a

   Magnum Hip System was in a defective condition and was and is inherently dangerous and unsafe.

           54.     When implanted into Plaintiff, the M2a Magnum Hip System was used for the

   purpose and in a manner normally intended, namely for use as a hip replacement device.

           55.     Defendants, with this knowledge, voluntarily designed their M2a Magnum Hip

   System in a dangerous condition for use by the public and, in particular, Plaintiff.

           56.     At all times relevant, the M2a Magnum Hip System lacked utility for any group of

   users, including Plaintiff.

           57.     The M2a Magnum Hip System provided no net benefit to any class of patients,

   including Plaintiff.

           58.     Defendants had a duty to create a product that was not unreasonably dangerous for

   its normal, intended use.

           59.     Defendants failed to complete adequate pre-market testing and post-market

   surveillance on the M2a Magnum Hip System.

           60.     Defendants designed, researched, manufactured, tested, advertised, promoted,

   marketed, sold and distributed a defective product which, when used in its intended or reasonably

   foreseeable manner, created an unreasonable risk to the health of consumers and to Plaintiff in

   particular, and Defendants are therefore strictly liable for the injuries sustained by Plaintiff.

           61.     Defendants are strictly liable for Plaintiff’s injuries in the following ways:
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                           (a)     the M2a Magnum Hip System as designed, manufactured, sold and

   supplied by Defendants, was defectively designed and placed into the stream of commerce by

   Defendants in a defective and unreasonably dangerous condition;

                           (b)     Defendants failed to properly market, design, manufacture,

   distribute, supply and sell the M2a Magnum Hip System;

                           (c)     Defendants failed to adequately test the M2a Magnum Hip System;

   and

                           (d)     A feasible alternative design existed that was capable of preventing

   Plaintiff’s injuries.

           62.     As a direct and proximate result of Defendants’ placement of the defective M2a

   Magnum Hip System into the stream of commerce, Plaintiff, Ms. Alonzo, has suffered damages

   for pain and suffering, disability, physical impairment, disfigurement, mental anguish,

   inconvenience, aggravation of a disease or physical defect and loss of capacity for the enjoyment

   of life in the past and to be sustained in the future; as well as damages for lost earnings in the past,

   loss of earning capacity in the future, medical expenses incurred in the past and medical expenses

   to be incurred in the future. The injuries and losses of Plaintiff are permanent in nature and

   Plaintiffs will continue to suffer such losses..

           63.     Defendants’ conduct as described above, was extreme and outrageous. Defendants

   risked the lives of recipients of their products, including Plaintiff’s, with knowledge of the safety

   and efficacy problems and suppressed this knowledge from the general public. Defendants knew

   or should have known of the serious health risks it created. Defendants made conscious decisions

   not to redesign, re-label, warn or inform the unsuspecting recipients of Defendants’ M2a Magnum

   Hip System. Defendants’ outrageous conduct warrants an award of punitive damages.

           64.     Plaintiffs seek actual and punitive damages from Defendants as alleged herein.
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          65.     WHEREFORE, Plaintiffs demand judgment against Defendants for compensatory

   and punitive damages, together with interest, costs of suit, attorneys’ fees, and all such other relief

   as the Court deems just and proper.

                               THIRD CAUSE OF ACTION
                    STRICT PRODUCTS LIABILITY – FAILURE TO WARN
                              AGAINST ALL DEFENDANTS

          66.     Plaintiffs incorporate paragraphs 1-35 of this Complaint as if fully set forth here

   and further allege as follows:

          67.     The M2a Magnum Hip System was defective and unreasonably dangerous when it

   left the possession of Defendants in that it contained warnings insufficient to alert Plaintiff’s

   implanting physician of the dangerous risks and reactions associated with the M2a Magnum Hip

   System including but not limited to the risks of developing serious and dangerous side effects,

   including but not limited to component loosening, component mal-alignment, infections, fracture

   of the bone, dislocation, metal sensitivity and toxicity, pain, irritation and discomfort, as well as

   the need for additional procedures to remove and replace the M2a Magnum Hip System, as well

   as other severe and permanent health consequences, notwithstanding Defendants’ knowledge of

   an increased risk of these injuries and side effects over other hip arthroplasty devices.

          68.     At the time Plaintiff’s physician received and/or used the M2a Magnum Hip

   System, the M2a Magnum Hip System was being used for the purposes and in a manner normally

   intended, namely for hip arthroplasty.

          69.     Plaintiff’s implanting physician could not, by the exercising reasonable care, have

   discovered the defects herein mentioned and perceived their danger.

          70.     Defendants, as manufacturers and/or distributors of the M2a Magnum Hip System,

   are held to the level of knowledge of an expert in the field.

          71.     Defendants’ warnings were not accurate or clear, and/or were ambiguous.
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          72.     Plaintiff’s implanting physician reasonably relied upon Defendants’ skill, superior

   knowledge and judgment. Moreover, Plaintiff’s implanting physician was not aware of true risks

   of implanting the M2a Magnum Hip System.

          73.     Defendants had a continuing duty to warn Plaintiff’s implanting physician of the

   dangers associated with the M2a Magnum Hip System.

          74.     Had Plaintiff’s implanting physician received adequate warnings regarding the

   risks of the M2a Magnum Hip System, he would not have used it.

          75.     As a direct and proximate result of Plaintiff’s use of the M2a Magnum Hip System,

   Plaintiff, Ms. Alonzo, has suffered damages for pain and suffering, disability, physical impairment,

   disfigurement, mental anguish, inconvenience, aggravation of a disease or physical defect and loss

   of capacity for the enjoyment of life in the past and to be sustained in the future; as well as damages

   for lost earnings in the past, loss of earning capacity in the future, medical expenses incurred in

   the past and medical expenses to be incurred in the future. The injuries and losses of Plaintiff are

   permanent in nature and Plaintiffs will continue to suffer such losses.

          76.     Defendants’ conduct as described above, was extreme and outrageous. Defendants

   risked the lives of recipients of their products, including Plaintiff’s, with knowledge of the safety

   and efficacy problems and suppressed this knowledge from the general public. Defendants knew

   or should have known of the serious health risks it created. Defendants made conscious decisions

   not to redesign, re-label, warn or inform the unsuspecting recipients of Defendants’ M2a Magnum

   Hip System. Defendants’ outrageous conduct warrants an award of punitive damages.

          77.     Plaintiffs seek actual and punitive damages from Defendants as alleged herein.

          78.     WHEREFORE, Plaintiffs demand judgment against Defendants for compensatory

   and punitive damages, together with interest, costs of suit, attorneys’ fees, and all such other relief

   as the Court deems just and proper.
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                                    FOURTH CAUSE OF ACTION
                                         NEGLIGENCE
                                    AGAINST ALL DEFENDANTS

          79.     Plaintiffs incorporates paragraphs 1-35 of this Complaint as if fully set forth here

   and further allege as follows:

          80.     Defendants had a duty to exercise reasonable care in designing, researching,

   manufacturing, marketing, supplying, promoting, sale, testing, quality assurance, quality control,

   and/or distribution of the M2a Magnum Hip System into the stream of commerce, including a duty

   to assure that the device would not cause those who had it surgically implanted to suffer adverse

   harmful effects from it.

          81.     Defendants failed to exercise reasonable care in designing, researching,

   manufacturing, marketing, supplying promoting, sale, testing, quality assurance, quality control,

   and/or distribution of the M2a Magnum Hip System into interstate commerce in that Defendants

   knew or should have known that the M2a Magnum Hip System caused significant bodily harm,

   including but not limited to, partial or complete loss of mobility, loss of range of motion, as well

   as other severe and personal injuries which are permanent and lasting in nature, physical pain and

   mental anguish, including diminished enjoyment of life, as well as the need for a revision surgery

   to replace the device with the increased risks of complications and death from such further surgery.

   Defendants knew or should have known the M2a Magnum Hip System was unsafe and/or failed

   to comply with federal requirements.

          82.     Despite the fact that Defendants knew or should have known that the M2a Magnum

   Hip System posed a serious risk of bodily harm to consumers, Defendants continued to

   manufacture and market the M2a Magnum Hip System for use by consumers like Plaintiff.




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          83.     Defendants knew or should have known that consumers such as Plaintiff would

   suffer foreseeable injury, and/or be at increased risk of suffering injury as a result of Defendants’

   failure to exercise ordinary care as described above.

          84.     As a direct and proximate result of Defendants’ negligence, Plaintiff, Ms. Alonzo,

   has suffered damages for pain and suffering, disability, physical impairment, disfigurement,

   mental anguish, inconvenience, aggravation of a disease or physical defect and loss of capacity for

   the enjoyment of life in the past and to be sustained in the future; as well as damages for lost

   earnings in the past, loss of earning capacity in the future, medical expenses incurred in the past

   and medical expenses to be incurred in the future. The injuries and losses of Plaintiff are permanent

   in nature and Plaintiffs will continue to suffer such losses.

          85.     Defendants’ conduct as described above, was extreme and outrageous. Defendants

   risked the lives of recipients of their products, including Plaintiff’s, with knowledge of the safety

   and efficacy problems and suppressed this knowledge from the general public. Defendants knew

   or should have known of the serious health risks it created. Defendants made conscious decisions

   not to redesign, re-label, warn or inform the unsuspecting recipients of Defendants’ M2a Magnum

   Hip System. Defendants’ outrageous conduct warrants an award of punitive damages.

          86.     Plaintiffs seek actual and punitive damages from Defendants as alleged herein.

          87.     WHEREFORE, Plaintiffs demand judgment against Defendants for compensatory

   and punitive damages, together with interest, costs of suit, attorneys’ fees, and all such other relief

   as the Court deems just and proper.

                               FIFTH CAUSE OF ACTION
                    VIOLATION OF FLORIDA’S DECEPTIVE AND UNFAIR
                                TRADE PRACTICES ACT
                              AGAINST ALL DEFENDANTS




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          88.     Plaintiffs incorporate paragraphs 1-35 of this Complaint as if fully set forth here

   and further allege as follows:

          89.     At all times relevant to this action, Plaintiff was a consumer as described in the

   Florida Deceptive and Unfair Trade Practices Act, Florida Statute Section 501.203(7).

          90.     In violation of the Florida Deceptive and Unfair Trade Practices Act, Defendants

   advertised and promoted the M2a Magnum Hip System using representations it knew to be false,

   misleading, or deceptive.

          91.     This false, misleading, or deceptive advertising and promotion constitutes “unfair

   methods of competition, unconscionable acts or practices, and unfair or deceptive acts or practices”

   pursuant to Florida Statutes Section 501.204.

          92.     Based upon the false, misleading, or deceptive advertising and promotion of

   Defendants, Plaintiff purchased the M2a Magnum Hip System.

          93.     As a result of the M2a Magnum Hip System purchased by Plaintiff being other than

   as represented by Defendants, it was thus unfit for its intended purpose and therefore valueless.

          94.     As a direct and proximate result of the deceptive and unfair trade practices of

   Defendants, Defendants sold and Plaintiff purchased a valueless hip replacement system.

          95.     These violations of the Florida Deceptive and Unfair Trade Practices Act were a

   producing cause of Plaintiff’s damages as alleged in this Complaint.

          96.     WHEREFORE, Plaintiffs demand judgment against the Defendants for the loss

   Plaintiffs incurred together with reasonable attorneys’ fees and costs of suit pursuant to Florida

   Statutes, Section 501.211(2), and for any further relief that the court deems just and proper.

                                SIXTH CAUSE OF ACTION
                         LOSS OF CONSORTIUM OF JAMES ALONZO
                               AGAINST ALL DEFENDANTS



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            97.     Plaintiffs incorporate paragraphs 1-35 of this Complaint as if fully set forth here

   and further allege as follows:

            98.     At all times relevant, Plaintiff James Alonzo was and is the husband of Plaintiff

   Anissa Alonzo. As such, Plaintiff James Alonzo was and is entitled to his wife’s services, support,

   companionship, affection and consortium.

            99.     As a result of the injuries sustained by his wife as alleged in this Complaint,

   Plaintiff James Alonzo has lost the services, support, companionship, affection and consortium of

   his wife, and will continue to lose said services, support, companionship, affection and consortium

   in the future.

            100.    Plaintiffs seek actual and punitive damages from Defendants as alleged herein.

            101.    WHEREFORE, Plaintiffs demand judgment against Defendants for compensatory

   and punitive damages, together with interest, costs of suit, attorneys’ fees, and all such other relief

   as the Court deems just and proper.

                                      DEMAND FOR JURY TRIAL

            102.    Plaintiffs hereby demand a trial by jury on all counts as to all issues.

                                         PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs demand judgment against Defendants on each of the above-

   referenced Claims and Causes of Action as follows:

            1.      Awarding compensatory damages to Plaintiff, Ms. Alonzo in an amount to be

   determined at trial;

            2.      Awarding compensatory damages to Plaintiff, Mr. Alonzo in an amount to be

   determined at trial;

            3.      Awarding punitive and/or exemplary damages, in an amount to be determined at

   trial;
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         4.     Awarding Plaintiffs’ attorneys’ fees;

         5.     Awarding Plaintiffs the costs of the proceedings; and

         6.     Awarding such other and further relief this Court deems just and proper.

   Dated: October 27, 2021

                                                        s/Jeffrey L. Haberman
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